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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

 UNITED STATES OF AMERICA,             §
                   Plaintiff,          §
                                       §
 v.                                    §        CASE NO.: 7:20-cv-433
                                       §
 3.070 ACRES OF LAND, MORE OR LESS, §
 SITUATE IN STARR COUNTY, STATE        §
 OF TEXAS; AND LUIS ERNESTO            §
 GONZALEZ AND SONIA GONZALEZ,          §
 ET AL,                                §
                                       §
                    Defendants.        §
______________________________________________________________________________

                       COMPLAINT IN CONDEMNATION
______________________________________________________________________________

        1.      This is a civil action brought by the United States of America at the request of the

Secretary of the Department of Homeland Security, through the Acquisition Program Manager,

Wall Program Management Office, U.S. Border Patrol Management Office Directorate, U.S.

Border Patrol, U.S. Customs and Border Protection, Department of Homeland Security, for the

taking of property under the power of eminent domain through a Declaration of Taking, and for

the determination and award of just compensation to the owners and parties in interest.

        2.      The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.§

1358.

        3.      The interest in property taken herein is under and in accordance with the authority

set forth in Schedule “A.”

        4.      The public purpose for which said interest in property is taken is set forth in

Schedule “B.”

        5.      The legal description and map or plat of land in which certain interests are being


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acquired by the filing of this Complaint, pursuant to the Declaration of Taking, are set forth in

Schedules “C” and “D.”

       6.      The interest being acquired in the property described in Schedules “C” and “D” is

set forth in Schedule “E.”

       7.      The amount of just compensation estimated for the property interest being acquired

is set forth in Schedule “F.”

       8.      The names and addresses of known parties having or claiming an interest in said

property are set forth in Schedule “G.”

       9.      Local and state taxing authorities may have or claim an interest in the property by

reason of taxes and assessments due and eligible.

       WHEREFORE, Plaintiff requests judgment that the interest described in Schedule “E” of

the property described in Schedules “C” and “D” be condemned, and that just compensation for

the taking of said interest be ascertained and awarded, and for such other relief as may be lawful

and proper.

                                                      Respectfully submitted,

                                                      RYAN K. PATRICK
                                                      United States Attorney
                                                      Southern District of Texas

                                              By:     s/ Megan Eyes________________
                                                      MEGAN EYES
                                                      Assistant United States Attorney
                                                      Southern District of Texas No. 3135118
                                                      Florida Bar No. 0105888
                                                      1701 W. Bus. Hwy. 83, Suite 600
                                                      McAllen, TX 78501
                                                      Telephone: (956) 618-8010
                                                      Facsimile: (956) 618-8016
                                                      E-mail: Megan.Eyes@usdoj.gov
                                                      Attorney in Charge for Plaintiff



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  SCHEDULE
     A
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                                     SCHEDULE A

                            AUTHORITY FOR THE TAKING


          The property is taken under and in accordance with 40 U.S.C. §§ 3113 and 3114,

which authorize the condemnation of land and the filing of a Declaration of Taking; the

Act of Congress approved September 30, 1996, as Public Law 104-208, Division C,

Section 102, 110 Stat. 3009-546, 3009-554-55, as amended and codified at 8 U.S.C. §

1103(b) & note; and the Act of Congress approved March 23, 2018, as Public Law 115-

141, div. F, tit. II, 132 Stat. 348, which appropriated the funds that shall be used for the

taking.
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  SCHEDULE
      B
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                                     SCHEDULE B

                                   PUBLIC PURPOSE



       The public purpose for which said property is taken is to construct, install, operate,

and maintain roads, fencing, vehicle barriers, security lighting, cameras, sensors, and

related structures designed to help secure the United States/Mexico border within the State

of Texas.
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  SCHEDULE
     C
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                                     SCHEDULE C

                                LEGAL DESCRIPTION

                                   Starr County, Texas

Tract: RGV-RGC-6052
Owner: Luis Ernesto Gonzalez and Sonia Gonzalez, et al.
Acres: 3.070

Being a 3.070 acre tract (133,733 sq ft) parcel of land, more or less, out of a calculated
26.892 acres, being in the East half of Porcion No. 79, in Starr County, Texas conveyed to
Roy Lund, Volume 1240, Page 658 and Luis Ernesto Gonzalez, Volume 1161, Page 261.
Said parcel of land more particularly described by metes and bounds as follows;

Starting at COE Project control marker SR-01 2019, having the following NAD83 (2011)
Grid Coordinates N=16662165.65, E=876387.48; Thence N80°01’03”E a distance of
3403.19 feet to a found 5/8” iron rod on the North line of the Heirs of George Lund tract,
for the Point of Commencement, having the following coordinates: N=16662755.58,
E=879739.15.

Thence: S27°16’50”W departing said property line, to an existing barbed wire fence line,
a distance of 1744.97 feet to a set 5/8” x 36” iron rebar and EMC Inc. 3” aluminum cap
stamped RGV-RGC-6051-2=6052-1, on the East line of the Gladys Marie Doyno ET AL
tract, Volume 1510, Page 263 and on the West line of the Heirs of George Lund tract, for
the Point of Beginning, having the following coordinates: N=16661204.69, E=878939.34,
said point being on the Northern boundary of the parcel herein described.

Thence: S78°11'25"E departing said property line, departing said fence, along said
Northern boundary, a distance of 308.41 feet to a set 5/8” x 36” iron rebar and EMC Inc.
3” aluminum cap stamped RGV-RGC-6052-1A for a Point on Line;

Thence: S78°11'25"E along said Northern boundary, crossing an existing barbed wire
fence line at 147.93 feet, crossing the center of an existing 10 foot wide dirt road at 155
feet, a distance of 308.41 feet to a set 5/8” x 36” iron rebar and EMC Inc. 3” aluminum cap
stamped RGV-RGC-6052-2=6053-1 for angle, said point being on the East line of the Heirs
of George Lund tract and on the West line of the Paul Michael Doyno, Jr. Etal tract, Volume
1510, Page 263 and on the East line of Porcion 79 and on the West line of Porcion 80;

Thence: S08°15'35"W departing said Northern boundary, along said property line, along
said Porcion line, a distance of 210.40 feet to a set 5/8” x 36” iron rebar and EMC Inc. 3”
aluminum cap stamped RGV-RGC-6052-3=6053-4 for angle, said point being Southern
boundary of the parcel herein described;
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                               SCHEDULE C (cont.)

Thence: N78°11'25"W along said Southern boundary, departing said property line,
departing said Porcion line, crossing the center of an existing 10 foot wide dirt road at 266
feet, crossing an existing barbed wire fence line at 271.95 feet, a distance of 328.42 feet to
a set 5/8” x 36” iron rebar and EMC Inc. 3” aluminum cap stamped RGV-RGC-6052-3A
for a Point on Line;

Thence: N78°11'25"W along said Southern boundary, crossing the center of an existing 8
foot wide dirt road at 320 feet, to an existing barbed wire fence line, a distance of 328.42
feet to a set 5/8” x 36” iron rebar and EMC Inc. 3” aluminum cap stamped RGV-RGC-
6051- 3=6052-4 for angle, said point being on the East line of the Gladys Marie Doyno ET
AL tract, Volume 1510, Page 263 and on the West line of the Heirs of George Lund tract;

Thence: N19°07'57"E along said property line, along said fence, departing said Southern
boundary, a distance of 211.73 feet returning to the Place of Beginning.
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  SCHEDULE
      D
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                            SCHEDULE D

                             MAP or PLAT

                      LAND TO BE CONDEMNED
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                          SCHEDULE D (cont.)
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                               SCHEDULE D (cont.)




Tract: RGV-RGC-6052
Owner: Luis Ernesto Gonzalez and Sonia Gonzalez, et al.
Acreage: 3.070
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    SCHEDULE
        E
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                                      SCHEDULE E

                                       DT ESTATE

                                    Starr County, Texas

Tract(s): RGV-RGC-6052
Owner: Luis Ernesto Gonzalez and Sonia Gonzalez, et al.
Acres: 3.070

        The estate acquired is fee simple, subject to existing easements for public roads
and highways, public utilities, railroads, and pipelines; and subject to the mineral
interests of third parties; excepting and reserving to the Grantor all interests in minerals
and appurtenant rights for the exploration, development, production and removal of said
minerals;
       Reserving to the owners of lands identified in conveyances recorded with Official
Records of Starr County, Texas, volume 1240, page 658, and volume 1161, page 261,
reasonable access to and from the owners’ lands lying between the Rio Grande River and
the border barrier through opening(s) or gate(s) in the border barrier between the
westernmost mark labeled “Beginning” and easternmost mark labeled “Ending” depicted
on the map below;
        Excepting and excluding all interests in water rights and water distribution and
drainage systems, if any, provided that any surface rights arising from such water rights
or systems are subordinated to the United States’ construction, operation, and
maintenance of the border barrier.
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                          SCHEDULE E (cont.)
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    SCHEDULE
        F
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                                     SCHEDULE F

                        ESTIMATE OF JUST COMPENSATION



   The sum estimated as just compensation for the land being taken is TWENTY THREE

THOUSAND, FOUR HUNDRED AND SEVENTY DOLLARS AND NO/100

($23,470.00), to be deposited herewith in the Registry of the Court for the use and benefit

of the persons entitled thereto.
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     SCHEDULE
        G
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JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
                                                                                                            3.070 ACRES OF LAND, MORE OR LESS, SITUATE IN STARR
United States of America                                                                                    COUNTY, STATE OF TEXAS; AND LUIS ERNESTO GONZALEZ
                                                                                                            AND SONIA GONZALEZ, ET AL
    (b) County of Residence of First Listed Plaintiff                                                        County of Residence of First Listed Defendant STARR
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Megan Eyes, Assistant United States Attorney, SDTX, 1701 W. Bus.
Hwy. 83, Suite 600, McAllen, TX 78501


II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
u 1    U.S. Government                u 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         u 1       u 1       Incorporated or Principal Place       u 4     u 4
                                                                                                                                                         of Business In This State

u 2    U.S. Government                u 4     Diversity                                              Citizen of Another State          u 2    u    2   Incorporated and Principal Place    u 5     u 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           u 3    u    3   Foreign Nation                      u 6     u 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
u   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              u 625 Drug Related Seizure          u 422 Appeal 28 USC 158          u 375 False Claims Act
u   120 Marine                       u   310 Airplane                 u 365 Personal Injury -              of Property 21 USC 881        u 423 Withdrawal                 u 376 Qui Tam (31 USC
u   130 Miller Act                   u   315 Airplane Product               Product Liability        u 690 Other                               28 USC 157                       3729(a))
u   140 Negotiable Instrument                 Liability               u 367 Health Care/                                                                                  u 400 State Reapportionment
u   150 Recovery of Overpayment      u   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                u 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              u 820 Copyrights                 u 430 Banks and Banking
u   151 Medicare Act                 u   330 Federal Employers’             Product Liability                                            u 830 Patent                     u 450 Commerce
u   152 Recovery of Defaulted                 Liability               u 368 Asbestos Personal                                            u 835 Patent - Abbreviated       u 460 Deportation
        Student Loans                u   340 Marine                         Injury Product                                                     New Drug Application       u 470 Racketeer Influenced and
        (Excludes Veterans)          u   345 Marine Product                 Liability                                                    u 840 Trademark                        Corrupt Organizations
u   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                u 480 Consumer Credit
        of Veteran’s Benefits        u   350 Motor Vehicle            u 370 Other Fraud              u 710 Fair Labor Standards          u 861 HIA (1395ff)               u 490 Cable/Sat TV
u   160 Stockholders’ Suits          u   355 Motor Vehicle            u 371 Truth in Lending                Act                          u 862 Black Lung (923)           u 850 Securities/Commodities/
u   190 Other Contract                       Product Liability        u 380 Other Personal           u 720 Labor/Management              u 863 DIWC/DIWW (405(g))               Exchange
u   195 Contract Product Liability   u   360 Other Personal                 Property Damage                 Relations                    u 864 SSID Title XVI             u 890 Other Statutory Actions
u   196 Franchise                            Injury                   u 385 Property Damage          u 740 Railway Labor Act             u 865 RSI (405(g))               u 891 Agricultural Acts
                                     u   362 Personal Injury -              Product Liability        u 751 Family and Medical                                             u 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     u 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            u 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
u   210 Land Condemnation            u   440 Other Civil Rights         Habeas Corpus:               u 791 Employee Retirement           u 870 Taxes (U.S. Plaintiff      u 896 Arbitration
u   220 Foreclosure                  u   441 Voting                   u 463 Alien Detainee                 Income Security Act                  or Defendant)             u 899 Administrative Procedure
u   230 Rent Lease & Ejectment       u   442 Employment               u 510 Motions to Vacate                                            u 871 IRS—Third Party                  Act/Review or Appeal of
u   240 Torts to Land                u   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
u   245 Tort Product Liability               Accommodations           u 530 General                                                                                       u 950 Constitutionality of
u   290 All Other Real Property      u   445 Amer. w/Disabilities -   u 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       u 462 Naturalization Application
                                     u   446 Amer. w/Disabilities -   u 540 Mandamus & Other         u 465 Other Immigration
                                             Other                    u 550 Civil Rights                   Actions
                                     u   448 Education                u 555 Prison Condition
                                                                      u 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
u 1 Original             u 2 Removed from                 u 3         Remanded from             u 4 Reinstated or       u 5 Transferred from     u 6 Multidistrict                  u 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           40 U.S.C. 3113 and 3114
VI. CAUSE OF ACTION Brief description of cause:
                                           Land condemnation proceeding for fee simple interest to construct, install, operate, and maintain border security.
VII. REQUESTED IN     u CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         u Yes      u No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
             12/28/2020                                                  s/ Megan Eyes
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE
